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                                          No. 20-4252

                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT


ROBERTA LINDENBAUM,                                     )
                                                        )                       FILED
       Plaintiff-Appellant,                             )                 Sep 09, 2021
                                                        )             DEBORAH S. HUNT, Clerk
UNITED STATES OF AMERICA,                               )
                                                        )
       Intervenor                                       )
v.                                                      )                 ORDER
                                                        )
REALGY, LLC, et al.,                                    )
                                                        )
       Defendants-Appellees.                            )
                                                        )


       Before: GIBBONS, STRANCH, and BUSH, Circuit Judges.

       After briefing and oral argument were completed, Realgy, LLC filed a motion for recusal

of Judge Stranch pursuant to 28 U.S.C. § 455(a). Realgy questions Judge Stranch’s impartiality

because she has family members who work at a law firm that has two active Telephone Consumer

Protection Act robocall cases, including a case in the Sixth Circuit, and because the firm may have

more cases involving that statute in the future. Roberta Lindenbaum opposes the motion.

       28 U.S.C. § 455(a) requires any judge to “disqualify [herself or] himself in any proceeding

in which [her or] his impartiality might reasonably be questioned.” Impartiality is determined

through the eyes of “a reasonable, objective person, knowing all of the circumstances.” Scott v.

Metro. Health Corp., 234 F. App’x 341, 354 (6th Cir. 2007). “The burden is on the moving party

to justify disqualification.” Burley v. Gagacki, 834 F.3d 606, 616 (6th Cir. 2016). Furthermore,

“a federal judge has a duty to sit where not disqualified which is equally as strong as the duty to
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not sit where disqualified.” Scott, 234 F. App'x at 354 (citing Laird v. Tatum, 409 U.S. 824, 837

(1972)).

        Realgy has not met its burden. The facts Realgy alleges would not lead a reasonable,

objective observer to question impartiality. Judge Stranch’s relatives have no connection to the

case before us. Furthermore, they are not listed as party or counsel to any pending cases to which

Realgy points, nor are they listed on the law firm’s website as attorneys actively soliciting robocall

cases. Realgy acknowledges, as a general matter, that it would be “inappropriate” for a judge to

recuse where the judge’s relatives work at a firm that does legal work in the same subject area as

the suit before the judge. See Mot. Seeking Recusal at 3 (“Appellee does not seek recusal here

because a judge’s distant relatives work at a firm that dabbles in the type of legal work at issue in

an appeal—which would be inappropriate.”). But Realgy does not offer any sufficient reason not

to apply that same general principle here. Realgy also does not cite to any analogous cases

requiring recusal under 28 U.S.C. § 455(a). Realgy’s position would seem to require that no judge

would be allowed to hear a case involving an area of practice in which an attorney who is the

judge’s relative practices. That is not required by 28 U.S.C. § 455(a).

        Realgy attempts to analogize to 28 U.S.C. § 455(b)(4), by arguing that two of the relatives

are partners at the law firm and therefore have a financial interest. But 28 U.S.C. § 455(b)(4)

requires direct financial interest—not remote, indirect, contingent, or speculative interest. See

Scott, 234 F. App’x at 357 (citing United States v. Bayless, 201 F.3d 116, 127 (2d Cir. 2000)). As

noted, none of the relatives are parties or counsel to a party in this case and none of the relatives

will receive direct financial benefit from this court’s ruling. See, e.g., Hall v. City of Williamsburg,

768 F. App’x 366, 372 (6th Cir. 2019) (affirming the denial of a motion for recusal based partially

on the fact that “[n]either the district judge’s sister nor nephew worked on [plaintiff’s] case”).



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       Because a reasonable, objective person would not question Judge Stranch’s impartiality

based on the facts alleged, we decline to address the timeliness of the motion.

       The motion seeking recusal is DENIED.

                                             ENTERED BY ORDER OF THE COURT




                                             Deborah S. Hunt, Clerk




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